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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


MIKHAIL FRIDMAN, PETR AVEN, and
GERMAN KHAN,

               Plaintiffs,
                                                           Civil Case No. 1:17-cv-2041-RJL
       v.

BEAN LLC a/k/a FUSION GPS, and GLENN
SIMPSON,

               Defendants.


                       DEFENDANTS’ MOTION TO STAY PENDING
                        28 U.S.C. § 1292(b) MOTION AND APPEAL

       Having separately moved for permission to appeal under 28 U.S.C. § 1292(b), see Defs.’

Mot. to Amend Order Denying Defs.’ Mot. to Dismiss (Feb. 12, 2012) (hereinafter “Section

1292(b) Motion”), Defendants hereby move to stay all proceedings in this case pending

resolution by this Court and the D.C. Circuit of Defendants’ Section 1292(b) Motion, and, if

Section 1292(b) appeal is granted, resolution of the interlocutory appeal. In support, they state as

follows:

       1.      On January 15, 2019, the Court denied Defendants’ Rule 12(b)(6) motion to

dismiss and their special motion to dismiss pursuant to the D.C. Anti-SLAPP Act, D.C. Code §

16-5501 et seq., holding, among other things, that (1) the Court was barred from deciding at the

pleadings stage whether Plaintiffs are public figures who had plausibly pled actual malice,

because whether Plaintiffs are public figures is an “affirmative defense,” and (2) it was bound by

Abbas v. Foreign Policy Group, LLC, 783 F.3d 1328 (D.C. Cir. 2015), which the Court

considered to be controlling on the question whether the D.C. Anti-SLAPP Act, is applicable in

federal diversity cases. ECF Nos. 48 (Order) and 49 (Memorandum Opinion). Because it
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considered itself precluded from deciding whether Plaintiffs are public figures and from applying

the Anti-SLAPP Act, the Court did not decide whether Plaintiffs had plausibly alleged that

Defendants acted with actual malice.

       2.      Defendants have moved this Court to certify two questions of law for

interlocutory appeal:

               Question 1: Can and should a district court determine at the
               pleadings stage whether a plaintiff is a limited-purpose public
               figure such that the plaintiff must have plausibly pled actual malice
               to survive a motion to dismiss?

               Question 2: After Competitive Enterprise Institute v. Mann, 150
               A.3d 1213 (D.C. 2016), is Abbas v. Foreign Policy Group, LLC,
               783 F.3d 1328 (D.C. Cir. 2015), no longer controlling on the
               question whether the District of Columbia’s Anti-SLAPP Act,
               D.C. Code § 16-5502 et seq., is applicable in federal court?

       3.       Because an immediate appeal of each of these questions may materially advance

the ultimate termination of the litigation, the Court should stay all proceedings pending

resolution of the Section 1292(b) Motion by this Court and the D.C. Circuit, and, if interlocutory

review is granted, should stay all proceedings pending resolution of the appeal.

       4.      “‘[T]he power to stay proceedings is incidental to the power inherent in every

court to control the disposition of the causes on its docket with economy of time and effort for

itself, for counsel, and for litigants.’” Air Line Pilots Ass’n v. Miller, 523 U.S. 866 n.6, 880

(1998) (quoting Landis v. North American Co., 299 U.S. 248, 254-55 (1936)). “How this can

best be done calls for the exercise of judgment, which must weigh competing interests and

maintain an even balance.” Id. Section 1292(b) specifically authorizes the district courts to

exercise their discretion to stay proceedings over which they have continuing jurisdiction during

the pendency of an interlocutory appeal. See 28 U.S.C. § 1292(b).




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        5.      Whether a stay pending appeal is appropriate requires considering four factors:

“(1) whether the stay applicant has made a strong showing that he is likely to succeed on the

merits; (2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance

of the stay will substantially injure the other parties interested in the proceeding; and (4) where

the public interest lies.” Nken v. Holder, 556 U.S. 418, 434 (2009). Here, each of those factors

militates strongly in favor of a stay.

        6.      First, Defendants are likely to succeed on the merits of their appeal. A stay is

particularly appropriate in a case where, as here, a party has pursued interlocutory appeal under

28 U.S.C. § 1292(b) on issues that could prove dispositive. Philipp v. Fed. Republic of Germany,

253 F. Supp. 3d 84, 89 (D.D.C. 2017). As Defendants have demonstrated, district courts can and

should determine at the pleadings stage whether a plaintiff is a limited-purpose public figure who

has plausibly pled actual malice. Defs.’ Mem. in Supp. of Mot. to Amend Order Denying Defs.’

Mots. To Dismiss (“Defendants’ Memorandum” or “Defs.’ Mem.”) at § I.A. And because

Plaintiffs’ public figures status is established by judicially noticeable news articles, upon

determination by the D.C. Circuit that this Court can and should determine that status at the

pleadings stage, this Court will be able to determine that Plaintiffs are in fact public figures who

have failed to plausibly plead that Defendants acted with actual malice. That, in turn, would

require dismissal, because Plaintiffs’ current allegations of actual malice are threadbare and

conclusory, and plainly do not constitute plausible allegations that Defendants “in fact harbored

subjective doubt” about the truth of the statements in CIR 112 or believed it was “highly

probable that [CIR 112] was (1) fabricated; (2) so inherently improbable that only a reckless

person would have put [it] in circulation; or (3) based wholly on an unverified anonymous




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telephone call or some other source that [Defendants] had obvious reason to doubt.” Jankovic v.

Int’l Crisis Grp., 822 F.3d 576, 589 (D.C. Cir. 2016).

       7.      The same goes for the merits of Defendants’ appeal on the applicability of the

D.C. Anti-SLAPP Act in federal court. As explained in Defendants’ Memorandum, the case that

this Court concluded “control[s]” and bars application of the Act in this Court, Abbas v. Foreign

Policy Group, LLC, 783 F.3d 1328 (D.C. Cir. 2015), has been fundamentally upended by the

intervening decision of the D.C. Court of Appeals, Competitive Enterprise Institute v. Mann, 150

A.3d 1213 (D.C. 2016). See Defs.’ Mem. at § I.B. Upon determination by the D.C. Circuit that

Abbas no longer controls, this Court will be free to apply the Anti-SLAPP Act. That too will

likely require dismissal, just as it did Plaintiffs brought substantively identical claims in the

Superior Court against different parties. See Khan v. Orbis Business Intel. Ltd., Case No. 2018 C

002667 B (D.C. Super. Ct. Aug 20, 2018) (filed in this Court as ECF No. 34-1), at 16-19.

       8.      Second, Defendants will be irreparably injured if the Court does not grant a stay.

The D.C. Anti-SLAPP Act confers significant, substantive protections on parties like

Defendants, who have been sued for their acts in furtherance of the right of advocacy on issues

of public interest. See D.C. Code § 16-5502(a). Those protections include not only the Act’s

special motion to dismiss procedure, but also a stay of all discovery pending resolution of the

anti-SLAPP motion. Id. §§ 16-5502(a), 5504(a). Defendants seek to appeal this Court’s ruling

that the Anti-SLAPP Act is not applicable in federal court. Without a stay, Defendants will be

forced to bear the burdens of litigation from which the Act was intended to protect them.

       9.      Further, Defendants seek to appeal this Court’s ruling that it cannot decide

whether Plaintiffs are public figures on a Rule 12(b)(6) motion. Without a stay, Defendants will

effectively be deprived of the protection that the applicable First Amendment jurisprudence



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provides to defendants sued by public figures. “Various doctrinal protections” – including the

requirement that public figures have plausibly pled actual malice, and the requirement that public

figure status be determined as a threshold question of law – preserve ‘the breathing space which

freedoms of expression require in order to survive.’” Farah v. Esquire Magazine, 736 F.3d 528,

534 (D.C. Cir. 2013) (quoting Milkovich v. Lorain Journal Co., 497 U.S. 1, 19 (1990)). It is not

only the “actual imposition of pecuniary liability” but also the “threat” of liability and the

burdens of long and expensive litigation that “may impair the unfettered exercise of First

Amendment freedoms.” Id. (citation and alteration omitted). As reflected in the D.C. Circuit’s

discussion in Farah, those First Amendment protections would be irreparably lost if Defendants

were required to undergo burdensome litigation before a court determines whether Plaintiffs are

public figures who have plausibly pled actual malice. See id.

       10.     Third, issuance of the stay will not substantially injure Plaintiffs. Plaintiffs seek

only monetary damages. ECF No. 17 at 18. Plaintiffs would not and cannot be “substantially

injure[d]” by a stay because “economic loss does not, in and of itself, constitute irreparable

harm.” Wis. Gas Co. v. Fed. Energy Regulatory Comm’n, 758 F.2d 669, 674 (D.C. Cir. 1985).

Further, a stay, while this Court and the D.C. Circuit decide whether an immediate appeal is

warranted, will save all parties, including the Plaintiffs, substantial resources that would be

expended in wide-ranging discovery that may not be necessary.

11.    Fourth, the “public interest” lies squarely in favor of a stay. The First Amendment bars

public figures from suing for defamation unless the defendant acted with “actual malice” within

the meaning of New York Times v. Sullivan, 376 U.S. at 279-80. The public interest is strongly

served by clarification by the D.C. Circuit that courts can and should determine at the pleadings

stage whether a plaintiff is a limited-purpose public figure such that the plaintiff must have



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plausibly pled actual malice to survive a motion to dismiss. The public interest is also strongly

served by an immediate appeal on the question whether the protections conferred by the D.C.

Anti-SLAPP Act are applicable in federal court. As the Mann court explained, the purpose of the

Act is to “protect targets” of “meritless lawsuits” that are “filed by one side of a political or

public policy debate aimed to punish or prevent the expression of opposing points of view.” 150

A.3d at 1226. It does so by “creating ‘substantive rights with regard to a defendant’s ability to

fend off’ a SLAPP,” id., rights that would be essentially meaningless if the Act were applicable

only if plaintiffs elect to sue in state court. Finally, the public interest in a stay is particularly

strong in this case, where the Superior Court found that these Plaintiffs violated the Anti-SLAPP

Act by filing a lawsuit substantively identical to this one. Thus, this case, more than any other

such case, vividly illustrates the public interest of D.C. residents in a determination of whether

the D.C. Act applies to actions that happen to be filed in the federal court of the District of

Columbia.

         WHEREFORE, the Court should stay all proceedings in this case pending resolution by

this Court and the D.C. Circuit of Defendants’ Section 1292(b) motion, and, if the Section

1292(b) appeal is granted, resolution of the interlocutory appeal.


Dated:    February 12, 2019                      ZUCKERMAN SPAEDER LLP

                                                 By:    /s/ Steven M. Salky
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                               LOCAL RULE 7(M) STATEMENT

       Pursuant to Local Rule 7(m), I have conferred with counsel for Plaintiffs. I am authorized

to state that Plaintiffs oppose the relief sought in this motion.



                                                       /s/ Steven M. Salky
                                                       Steven M. Salky



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 12, 2019, the foregoing Defendants’ Motion to

Stay Pending 28 U.S.C. § 1292(B) Motion and Appeal was filed with the Court’s CM/ECF

Service, and thereby provided to the following counsel of record:


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                                                       /s/ Adam B. Abelson
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